
54 N.Y.2d 965 (1981)
In the Matter of the Claims of Dennis W. Maguire et al., Respondents. Philip Ross as Industrial Commissioner, Appellant.
Court of Appeals of the State of New York.
Decided October 27, 1981.
Robert Abrams, Attorney-General (Steven A. Segall of counsel), for appellant.
Vincent F. Nicolisi for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On summary consideration, order, insofar as appealed from, reversed, with costs, and the determination of the Unemployment Insurance Appeal Board reinstated for the reasons stated in the concurring in part and dissenting in part memorandum of Justice J. CLARENCE HERLIHY at the Appellate Division.
